Case 1:04-cr-10099-.]DT Document 50 Filed 06/21/05 Page 1 of 2 Page|D 57

PS 42
(Rev ?!93)

United States District Court

Western District of Tennessee

United States of America

 

)
)
vs )
)
) CaSe N0. 04-10099-02
CONSENT TO MODIFY CONDITIONS OF RELEASE

Arun Kumar

l, Arun Kumar, have discussed with Carolyn W. Moore, Pretrial Services Officer,
modification of my release conditions as follows:

Defendant is allowed to travel outside the Western District of Tennessee for employment
purposes

l consent to this modification of my release conditi s and agree to abide by this modification

V ,
amato Ma,, ii via a a _/Oe

Signature of Defendant Date Pretrial S ices Offlcer Date

 

the ditions With my client and concur that this modification is appropriate

, . a//b’&§

 
 

 

(/\
Signature of Defense CounM Date
[ ] The above modification of conditions of release is ordered, to be effective on 23 . WJ

[ ] The above modification of conditions of release is not ordered.

/
QWN,, 23, W 24 ginn 3315
§§an J udicial Officer Date

This document entered on the docket sheet ln compliance
with nme 55 and/or 32(b) FHch on __Q_J_?*_S’___

 

"TDISRICT COURT - WESRNTE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 1:04-CR-10099 Was distributed by faX, mail, or direct printing on
June 21, 2005 to the parties listed.

 

Mark L. Agee
AGEE LAW FIRM
ill W. Eaton St.
Trenton, TN 38382

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

